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  7   Attorneys for Secured Creditor
      Thomas P. Tuttle and Catherine M. Tuttle,
  8   Trustees of The Tuttle 2000 Living Trust
      dated 11/22/00
  9

 10                            UNITED STATES BANKRUPTCY COURT

 11                     NORTHERN DISTRICT OF CALIFORNIA, DIVISION 5

 12
       In re:                                            Case No. 17-52444-SLJ
 13
       VICTOR BATINOVICH,                                Chapter 11
 14
                                                      Date: January 10, 2018
 15                                                   Time: 10:30 a.m.
                                              Debtor. Courtoom: 3099
 16

 17
                DECLARATION OF JULIE H. ROME-BANKS IN SUPPORT OF LIMITED
 18                 OPPOSITION TO MOTION TO DISMISS CHAPTER 11 CASE

 19                   I, Julie H. Rome-Banks, hereby declare:

 20             1.    I am an attorney licensed to practice by the State of California and

 21   admitted to practice before the above-entitled Court. I am a partner with Binder & Malter

 22   LLP, attorney for Secured Creditor Thomas P. Tuttle and Catherine M. Tuttle, Trustees

 23   of The Tuttle 2000 Living Trust dated 11/22/00 (“Tuttle”) in the within action and I make

 24   this Declaration on behalf of my client.

 25             2.    I have personal knowledge of the matters contained herein, except as to

 26   those matters alleged upon information and belief and as to those matters If called

 27   upon as a witness, I would testify to the following.

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      DECLARATION OF JULIE H. ROME-BANKS IN SUPPORT OF LIMITED OPPOSITION
      TO MOTION TO DISMISS CHAPTER 11 CASE                                                    PAGE 1
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  1          3.      By way of background, this is the second bankruptcy case that the Debtor
  2   has filed. The first bankruptcy case was filed by the Debtor under chapter 13 as Case
  3   #17-52027, which was filed on August 23, 2017 and dismissed on September 21, 2017
  4   due to the Debtor’s failure to file required schedules, statement of financial affairs and
  5   other required pleadings after having received an order at the Debtor’s request
  6   extending the deadline for filing such documents from the Court (in Case #17-52027,
  7   see docket #8, Order on Request For Extension to File Documents and docket #14,
  8   Order and Notice of Dismissal for Failure to Comply, copies of which are attached
  9   hereto as Exhibits “A” and “B” respectively and incorporated herein by reference).
 10   Accordingly, this second individual bankruptcy case is presumed to be filed in bad faith
 11   and the Debtor bears the burden of proof to rebut such presumption by clear and
 12   convincing evidence if the Court was to extend the automatic stay beyond the 30 day
 13   period provided by statute.
 14          4.      This second bankruptcy case was filed under chapter 11 on October 5,
 15   2017. The Debtor attempted in this second bankruptcy case to extend the automatic
 16   stay beyond the 30 day period provided in 11 U.S.C. §362(a)(3) by filing a motion which
 17   Tuttle opposed. However, the Debtor did not timely file his motion to extend the
 18   automatic stay, did not set that motion to extend the automatic stay for a hearing and as
 19   a result the automatic stay terminated as a matter of law on November 4, 2017. The
 20   Debtor then sought a temporary restraining order or to reimpose the automatic stay
 21   against Tuttle by filing an Adversary Proceeding (Adversary Proceeding No. 17-5088)
 22   on November 6, 2017, however relief therein was summarily denied by the Court by
 23   written order entered on November 7, 2017. True and correct copies of Tuttle’s
 24   opposition to the Debtor’s motion to extend the automatic stay and the Court’s order
 25   denying relief in the Debtor’s adversary proceeding are attached hereto as Exhibits “C”
 26   and “D” respectively and are incorporated herein by reference.
 27          5.      Finally free of the automatic stay in this second bankruptcy case, the
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      DECLARATION OF JULIE H. ROME-BANKS IN SUPPORT OF LIMITED OPPOSITION
      TO MOTION TO DISMISS CHAPTER 11 CASE                                                    PAGE 2
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  1   foreclosing trustee was scheduled to conduct a trustee’s foreclosure sale on November
  2   9, 2017 on behalf of Tuttle. However, on November 8, 2017, the wife of the Debtor, Ann
  3   Batinovich, filed a chapter 13 petition in this Court which is currently pending as case
  4   #17-52709-SLJ. Said petition was filed on behalf of Ann Batinovich as a skeleton filing
  5   without schedules or a statement of financial affairs and without a proposed chapter 13
  6   plan. None of these required pleadings has been filed by Ann Batinovich as of the date
  7   of the filing of this Limited Opposition. In addition, no notice of the Ann Batinovich
  8   bankruptcy case was provided prior to the trustee’s foreclosure sale. The voluntary
  9   petition by Ann Batinovich failed to include Tuttle as a creditor for purposes of receiving
 10   notice, nor did it include Tuttle’s bankruptcy counsel of record who had previously
 11   appeared in the two bankruptcy cases involving the Debtor herein. Tuttle only became
 12   aware of the Ann Batinovich bankruptcy case out of an abundance of caution on my
 13   part because I anticipated a possible bankruptcy filing by Ann Batinovich following the
 14   events described above regarding the termination of the automatic stay in this the
 15   Second Victor Batinovich Case. Therefore I was routinely checking the PACER
 16   electronic docket before Tuttle conducted his scheduled trustee’s foreclosure sale
 17   scheduled for November 9, 2017 at 10:00 a.m. At approximately 8:40 a.m. on
 18   November 9, 2017, I discovered the Ann Batinovich bankruptcy case had been filed by
 19   searching for her name on PACER and as a result, instructed the foreclosing trustee to
 20   continue a foreclosure sale which would have otherwise occurred due to lack of notice
 21   of the bankruptcy case to Tuttle or to the foreclosing trustee under Tuttle’s junior deed
 22   of trust described below. Notably, every time Tuttle must continue the foreclosure sale
 23   due to a bankruptcy case being filed, Tuttle incurs additional foreclosure fees.
 24          6.      The Debtor herein argues in support of dismissal that the purpose for
 25   going forward with a Chapter 11 Plan and Disclosure Statement was to “mainly
 26   reorganize his debt and retain his residence.” Debtor contends that since he is no
 27   longer protected by the automatic stay, Chapter 11 is of no assistance to him and
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      DECLARATION OF JULIE H. ROME-BANKS IN SUPPORT OF LIMITED OPPOSITION
      TO MOTION TO DISMISS CHAPTER 11 CASE                                                     PAGE 3
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  1   therefore he wants to dismiss this chapter 11 case. The Debtor’s declaration offering
  2   the only evidence in support of his dismissal motion is remarkably short in this regard.
  3          Executed on December 13, 2017 at Santa Clara, California. I declare under
  4   penalty of perjury that the foregoing is true and correct.
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  6                                                         /s/ Julie H. Rome-Banks
                                                            Julie H. Rome-Banks
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      DECLARATION OF JULIE H. ROME-BANKS IN SUPPORT OF LIMITED OPPOSITION
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